                                                     Notice Recipients
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Recipients of Notice of Electronic Filing:
ust         United States Trustee         ustpregion03.ha.ecf@usdoj.gov
tr          Michael G Oleyar (Trustee)          mgoleyar@yahoo.com
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Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          James Michael Brolley     150 Laurel Rd       Mountaintop, PA 18707
cr          Wells Fargo Home Mortgage       1 Home Campus        Des Moines, IA 50328−0001
3688625     EMC Mortgage Corporation       909 Hidden Ridge Drive       Suite #200     Irving TX 75038
3688626     Joseph P Schlak, Esquire    Phelan Hallinan Schmieg      126 Locust Street      Harrisburg PA 17101
                                                                                                             TOTAL: 4




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                    Order Dismiss per 521i: Notice Recipients Page 1 of 1
